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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 7
      BOARD OF TRUSTEES OF THE CEMENT
      MASONS & PLASTERERS HEALTH &                               Cause No. MC22-0084RSL
 8
      WELFARE TRUST, et al.,

 9
                             Plaintiffs,                         ORDER TO ISSUE WRIT OF
                                                                 GARNISHMENT
10
                  v.

11
      O-CO CONCRETE CONSTRUCTION, LLC,

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                       Defendant/Judgment Debtor,

13
                and

14
      ACTIVE CONSTRUCTION, INC.,

15
                             Garnishee.

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            This matter comes before the Court on plaintiffs’ “Application for Writ of Garnishment”
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     for property in which the defendant/judgment debtor, O-Co Concrete Construction LLC, has a
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19   substantial nonexempt interest and which may be in the possession, custody, or control of the

20   garnishee, Active Construction, Inc. The Court having reviewed the record in this matter, it is
21   hereby ORDERED that the Clerk of Court shall issue the Writ of Garnishment (Dkt. # 1-2)
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     submitted by plaintiffs’ counsel on October 12, 2022.
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24          Dated this 17th day of October, 2022.
25

26                                             Robert S. Lasnik
                                               United States District Judge
27

28   ORDER TO ISSUE WRIT OF GARNISHMENT - 1
